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                                        UNITED STATES DISTRICT COURT
                                      NORTHERN DISTRICT OF CALIFORNIA

Case:   3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
        21-md-02981-JD In re Google Play Store Antitrust Litigation

                                            EXHIBIT and WITNESS LIST

 JUDGE:                                     PLAINTIFF’S ATTORNEY:               DEFENSE ATTORNEY:
 Hon. James Donato                          Lauren Moskowitz,                   Lauren Bell, Jonathan Kravis,
                                            Yonatan Even, Gary Bornstein,       Michelle Chiu, Brian Rocca,
                                            Brent Byars, Andrew Wiktor          Kuru Olasa, Kyle Mach,
                                                                                Justin Raphael, Glenn Pomerantz
 JURY TRIAL DATE:                           REPORTER(S):                        CLERK:
 11/20/2023                                 Kelly Shainline                     Lisa R. Clark

 PLF      DEF      TIME
 NO.      NO.      OFFERED ID REC DESCRIPTION                                                                  BY
                   9:07 am        Court in session; out of the presence of the jury.
                   9:20 am                     Court in session; all parties and jury present.
                   9:22 am                     Plaintiff calls Don Harrison -- direct examination
                                               Email from D. Harrison to M. Murphy re BC Guidance
 1483                             X     X                                                                      LRC
                                               (07/11/2018)
                                               Email from D. Harrison to D. Sobota re Strategic
 1484                             X     X                                                                      LRC
                                               Rationale (07/16/2018)
 1485                             X     X      Slide deck titled, "Project Electra" (07/01/2018)               LRC
                                               Email from D. Harrison to R. Porat et al. re Activision
 8019                             X     X                                                                      LRC
                                               Blizzard deal for Dec 19 BC Review
                                               Slide deck titled, "Modular Google Play Billing EAP Pre-
 1496                             X     X                                                                      LRC
                                               BC Exec Review" (07/27/2020)
                                               Document titled, "Amendment to the Information Services
 1492                             X     X                                                                      LRC
                                               Agreement" (9/30/2016)
 6190                             X     X      12/20/2018 email from J. Dischler to D. Harrison                LRC
                                               Document titled, "Apple Partnership Strategy"
 1493                             X     X                                                                      LRC
                                               (10/29/2020)
                   10:01 am                    Cross-examination of Don Harrison
                                               Witness shown exhibits 8019, 153, 1496, 1530, 6190,
                                               1493
          8734                    X     X      3/25/2020 email from T. Sweeney to D. Harrison                  LRC
                   10:42 am                    Court in recess.
                                               Court in session; all parties and jury present. Cont’d cross-
                   11:01 am
                                               examination of Don Harrison.
          5735                    X     X      4/10/2020 email from T. Sweeney to D. Harrison                  LRC
                   11:15 am                    Re-direct of Don Harrison by plaintiff
                                               Witness shown exhibits 8019, 1496, 5734
 8612                             X            No description provided
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PLF     DEF     TIME
NO.     NO.     OFFERED ID REC DESCRIPTION                                                           BY
8613                    X X    No description provided                                               LRC
                11:40 am             Re-cross by defendants of Don Harrison
                11”41 am             Plaintiff calls Tim Sweeney -- direct examination
8004                       X   X     No description provided                                         LRC
                                     Email from P. Rosenberg to T. Sweeney re Fortnite
8005                       X   X                                                                     LRC
                                     interoperability and esports (6/2/2018)
                12:00 pm             Court in recess.
                                     Court in session; all parties and jury present. Cont’d direct
                12:36 pm
                                     examination of Tim Sweeney.
                                     Email from J. Rosenberg to T. Sweeney re Fortnite
5504                       X   X                                                                     LRC
                                     Android launch plan (6/22/2018)
                                     Email from T. Sweeney to H. Lockheimer; J. Rosenberg re
5509                       X   X                                                                     LRC
                                     Fortnite on Google Play (12/5/2019)
5488                       X   X     7/22/2020 email from H. Lockheimer to T. Sweeney                LRC
8045                       X   X     Plaintiff’s Sweeney Demonstrative                               LRC
                1:28 pm              Cross-examination of Tim Sweeney.
                                     Defendants’ Sweeney Demonstrative shown to witness
        9061               X         V-Bucks
                                     Email from T. Sweeney to J. Rosenberg re Fortnite
        5520               X   X                                                                     LRC
                                     Android launch plan (7/22/2018)
                1:55 pm              Court in recess.
                2:15 pm              Court in session; out of the presence of the jury.
                                     Court in session; all parties and jury present. Cont’ cross-
                2:23 pm
                                     examination of Tim Sweeney.
        9200               X   X     No description provided.                                        LRC
        10684              X   X     5/11/2020 email from T. Sweeney to M. Rein                      LRC
        10026              X   X     1/13/2020 email from T. Sweeney to H. Lockheimer                LRC
        5530               X   X     Presentation dated 7/2020, titled "Project Liberty Update"      LRC
        9016               X   X     No description provided.                                        LRC
        5497               X   X     8/7/2020 Email from T. Sweeney to P. Spencer                    LRC
                3:00 pm              Re-direct of Tim Sweeney
10677                      X   X     5/22/2019 email from D. Wallerstein to J. Babcock               LRC
                3:12 pm              Re-cross of Tim Sweeney
                3:13 pm              Video Deposition of Donn Morrill
1362                       X   X     Document                                                        LRC
1363                       X   X     Spreadsheet                                                     LRC
1366                       X   X     Document                                                        LRC

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PLF     DEF    TIME
NO.     NO.    OFFERED ID REC DESCRIPTION                                           BY
                              Updated document titled, “How to Sideload Apps onto
11405                  X X                                                          LRC
                              Your Amazon Fire Tablet”
               3:30 pm        Court in recess.
                                    Plaintiff has 961 minutes left.
                                    Defendants have 1695 minutes left.




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